
USCA1 Opinion

	




                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 93-1534                                    SANDOR GARCIA,                                Plaintiff, Appellant,                                          v.                               AMERICAN AIRLINES, INC.,                                 Defendant, Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Hector M. Laffitte, U.S. District Judge]                                              ___________________                                 ____________________                                        Before                               Torruella, Circuit Judge,                                          _____________                            Coffin, Senior Circuit Judge,                                    ____________________                              and Boudin, Circuit Judge.                                          _____________                                 ____________________            Juan Rafael Gonzalez-Munoz for appellant.            __________________________            Pedro A. Delgado Hernandez  with whom Jorge  L. Capo Matos was  on            __________________________            ____________________        brief for appellee.                                 ____________________                                  December 29, 1993                                 ____________________               COFFIN, Senior Circuit Judge.  Appellant Sandor Garcia seeks                       ____________________          to litigate  a tort  claim against his  employer pursuant  to the          Puerto Rico workers'  compensation act even though  he previously          received substantial benefits based on the same  injury under the          Florida workers' compensation scheme.  The district court granted          summary judgment for the employer, American Airlines, ruling that          the exclusive remedy  provision contained in the  Florida statute          protected the company from further liability.  We affirm.                                    I. Background                                       __________               The  relevant facts  in this  case are  few and  undisputed.          Plaintiff  Garcia, a  flight  attendant  based  in  Puerto  Rico,          injured  his back  while working  on a  flight  from San  Juan to          Newark, New Jersey, in early 1991.  From 1979 through the time of          the injury, American  provided workers' compensation  benefits to          its  employees  through  a policy  in  Florida,  pursuant to  the          Florida  Workmen's Compensation Act,  Fla. Stat. Ann.     440.01-          440.60.  Shortly after his accident, Garcia received a "Notice of          Injury"  form from  the airline  and  filed it  with the  Florida          Department of  Labor.   He ultimately  received about  $44,000 in          medical and disability payments under American's Florida policy.               In January 1992,  Garcia filed this damages action in Puerto          Rico,  alleging that  American was  subject  to traditional  tort          liability because  it had  failed to  fulfill  its obligation  to          secure  workers' compensation  coverage  for  Garcia through  the          Puerto  Rico  State  Insurance Fund.    Under  the Commonwealth's          workers'  compensation  act,  an  employer  who  is  required  to                                         -2-          participate, but  does not, may be sued for damages by an injured          employee.  See P.R. Laws Ann. tit. 11,   16.                     ___               In response, American  raised two primary defenses.   First,          it  argued  that  it  was  not  obligated   to  provide  workers'          compensation coverage for Garcia in Puerto Rico because less than          50% of his worktime  was spent there.  The airline  thus was free          to  insure  its  employees  elsewhere  and,  because  Garcia  had          received  substantial  benefits  under  the  Florida  statute  --          indeed, higher benefits than would have been available in  Puerto          Rico --  American was  immunized from  further liability  by that          act's  exclusive remedy provision.1   Second, the  airline argued          that,  to the extent statutory  immunity was not dispositive, the          matter  raised an arbitrable  minor dispute over  which the court          lacked subject  matter  jurisdiction,  pursuant  to  the  federal          Railway Labor Act, 45 U.S.C.    151-188.               The  district court  dismissed  the  complaint on  statutory          immunity grounds,  ruling that Puerto  Rico would give  effect to          the  exclusive remedy provision contained in the Florida workers'          compensation  act.    The  court  summarized  its  conclusion  as          follows:               The  Court  finds, therefore,  that  where an  employee               spends over fifty (50) percent of his work time outside               of Puerto Rico, and is insured and compensated pursuant               to the workers'  accident compensation laws of  a state               which provides  benefits superior  to those  granted in               Puerto Rico, the Commonwealth of Puerto Rico would have                                        ____________________               1  The  Florida  workers' compensation  act  states  that an          employer's statutory liability for  benefits shall be  "exclusive          and in  place of all  other liability of such  employer . .  . ."          Fla. Stat. Ann.   440.11(1).                                         -3-               no interest  in barring  the operation  of the  foreign               statute's exclusive remedy provision.          The  court did  not rule  on  American's argument  concerning the          Railway Labor Act.2               On appeal, Garcia reiterates his contention that the Florida          exclusive remedy  provision may  not be given  effect to  bar his          claim for common law damages in  Puerto Rico.  Our review of  the          district  court's  grant of  summary  judgment is  plenary.   See                                                                        ___          Cambridge Plating  Co. v. Napco, Inc., 991  F.2d 21, 24 (1st Cir.          ______________________    ___________          1993).                                    II. Discussion                                        __________               We  begin   with  a   few  basic   principles  of   workers'          compensation  law to help to put this  case into context.  First,          it  is  well  established  that  an  injured  worker  may  obtain          successive  awards  in  different  states,  with  total  recovery          limited  to  the amount  of  the  higher  award.   4  A.  Larson,          Workmen's  Compensation Law   85.00,  at 16-18 (1992); see Thomas          ___________________________                            ___ ______          v.   Washington  Gas  Light   Co.,  448  U.S.   261,  286  (1980)               ____________________________          (plurality); Industrial Comm'n of Wisconsin v. McCartin, 330 U.S.                       ______________________________    ________          622, 626 (1947).  Thus, Garcia's receipt of benefits from Florida          does  not automatically preclude  an effort to  obtain additional          benefits through his tort action in Puerto Rico.               Virtually  all  workers'   compensation  statutes,  however,          contain an exclusive  remedy provision, stating that  an award of          statutory  benefits forecloses any other type of compensation for                                        ____________________               2 We also find it unnecessary to address this issue.                                         -4-          the  injury, including damages  in tort.   Workmen's Compensation                                                     ______________________          Law,    88.10, at 16-171.3   Employees trade their  tort remedies          ___          "for  a  system  of compensation  without  contest,  thus sparing          [them] the cost, delay and uncertainty of a claim in litigation."          Mullarkey v. Florida  Feed Mills, Inc., 268 So.2d  363, 366 (Fla.          _________    _________________________          1972).    Conversely,  workers'  compensation statutes  typically          allow a damages  remedy against employers who fail  to assume the          statutory  compensation  burdens.     The  theory  behind   these          provisions is self-evident.   An employer  who avoids sharing  in          the burdens  of the system is  not entitled to enjoy  its primary          benefit, the immunity  from non-statutory  liability.   Florida's          and Puerto Rico's statutes each have both types of provisions.               This  case   involves  a  head-on   collision  between   the          employee's right to successive workers' compensation remedies and          the immunity granted by individual jurisdictions to employers who          participate   in  their   own  workers'   compensation  programs.          Specifically,  Garcia  claims that  he  is  entitled to  bring  a          damages suit in Puerto  Rico -- where American was not insured --          despite  the statutory  immunity  conferred  on  the  airline  in          Florida -- where it was insured.                                        ____________________               3  An exception  to the  rule  allowing successive  benefits          awards may exist when an  exclusive remedy provision, in addition          to   foreclosing  other  types   of  relief  within   the  state,          specifically bars remedies available in other jurisdictions.  See                                                                        ___          Workmen's Compensation Law     85.20-85.40; Thomas v.  Washington          __________________________                  ______     __________          Gas   Light  Co.,  448   U.S.  261,  286-90   (1980)  (plurality)          ________________          (concurring  opinion  of  White,  J.).   This  exception  is  not          relevant here.                                           -5-               Garcia's argument  rests on several related contentions: (1)          that the Florida workers' compensation act is inapplicable to his          injury because  no Florida  interests were  implicated; (2)  that          American was  obligated to  insure him  under the  Commonwealth's          compensation scheme  because he is  a Puerto Rico  resident whose          job is based there; (3) and, finally, that the inapplicability of          the Florida  statute  renders  its  exclusive  remedy  limitation          impotent,  while the neglected  obligation under Puerto  Rico law          empowers him to sue American for damages.               We believe  that each  of these  premises is  flawed.   As a          result,  we conclude that  the district court  properly dismissed          Garcia's tort action.               A. Applicability of Florida law.                  ____________________________               It is important to remember,  as noted above, that more than          one  workers'  compensation   statute  can  apply  to   a  single          compensable injury,  so  long as  each  state has  a  "more-than-          casual" interest  in the  case.  4  Workmen's Compensation  Law                                                ___________________________          86.00,  at 16-48.   Florida  law  may apply  to Garcia's  injury,          therefore, even if another state -- or the Commonwealth of Puerto          Rico -- has more substantial interests in his claim.  "[T]he test          is not whether  [Florida]'s interest is greater than  that of any          other  state, but only  whether [Florida] has  a valid interest."          Id.    86.34, at 16-60  (citing Dissell v. Trans  World Airlines,          ___                             _______    _____________________          511 A.2d 441, 444-45 &amp; n.3 (Me. 1986)).               Garcia claims that Florida law is wholly inapplicable to his          injury, and that the exclusive  remedy provision contained in the                                         -6-          Florida  workers'  compensation  statute  therefore  may  not  be          invoked to bar  his damages lawsuit in Puerto Rico.   Florida law          does not  apply, he claims, because neither  he, his job, nor his          injury  has a  Florida connection.   He  emphasizes that he  is a          Puerto Rico resident  based in Puerto Rico; that  he entered into          his  employment   relationship  with  the   airline,  a  Delaware          corporation,  in  Texas;  and  injured  himself  while  traveling          between San Juan and Newark, New Jersey.               In  support  of his  argument,  Garcia relies  heavily  on a          Florida Supreme Court  case, Wainwright v. Wainwright,  237 So.2d                                       __________    __________          154 (1970),  in which  a Georgia resident  employed by  a Georgia          corporation   sought   benefits   under   the  Florida   workers'          compensation statute  for  an injury  suffered in  Georgia.   The          court upheld the  administrative denial of the claim  and, in the          course  of its  opinion,  noted  that the  statute  could not  be          applied "to other states in which . . . the State  of Florida has          no interest and to cases over  which the State of Florida has  no          authority," id. at  156.  Garcia maintains that  the same factors                      ___          upon which the  Florida Supreme Court relied to  reject the claim          in Wainwright  exist here: an  extraterritorial injury to  a non-             __________          resident employee working for an out-of-state employer.               Garcia's  argument, and  his  reliance  on  Wainwright,  are                                                           __________          misplaced.  Unlike in Wainwright, neither the employer's business                                __________          nor  the employee's work are located exclusively outside Florida.                                                           _______          American  Airlines  operates  in Florida,  and  Garcia  worked on          flights into and out of at  least two Florida cities.  See  Sworn                                                                 ___                                         -7-          Statement  of Jorge Olascoaga,  Flight Service Supervisor,  at 6.          Although  Garcia  is  correct that  Florida's  contacts  with his          injury are  limited, this  is  at least  in part  because of  the          inherently mobile nature of both his job and American's business.          The  airline has  21,000  flight  attendants  spread  across  the          country, and no single state has  a substantial relationship with          all of them.4               Moreover, even if these contacts were deemed insufficient to          trigger  the coverage  provisions of  the  Florida act  directly,          Garcia  nevertheless  would  be  covered  because  of  American's          voluntary assumption of liability under the Florida system.   The          Florida statute permits  an otherwise excluded employer  to waive          the exclusion  and bring itself  or a specific injury  within the          act's coverage by choosing to participate in the Florida worker's          compensation  scheme.   See Fla.  Stat. Ann.    440.04(2).5   See                                  ___                                   ___          Mandico v. Taos Construction, 605 So.2d 850, 852 (Fla. 1992) (per          _______    _________________          curiam); Blair v. Edward G.  Gerrits, Inc., 193 So.2d 172, 174-75                   _____    ________________________                                        ____________________               4  Not all  flight  attendants  based  in  Puerto  Rico  are          residents of  the Commonwealth.   The Puerto Rico  group includes          residents of Florida and the United States Virgin Islands.               5 Section 440.04(2) provides:               When any policy  or contract of insurance  specifically               secures the benefits of this chapter to  any person not               included  in  the  definition  of  "employee" or  whose               services  are   not  included  in  the   definition  of               "employment" or  who is otherwise  excluded or exempted               from the operation  of this chapter, the  acceptance of               such policy or contract of insurance by the insured and               the writing of  same by the carrier shall  constitute a               waiver of such exclusion or exemption and an acceptance               of the provisions of this  chapter with respect to such               person . . . .                                         -8-          (Fla.  1966); Rainwater v.  Vikings Men's Hairstyling,  382 So.2d                        _________     _________________________          1313, 1314-15  (Fla. App. 1980).   For more than a  decade before          Garcia's   accident,  American   voluntarily  provided   accident          insurance for  its employees  in Florida, and,  in this  case, it          specifically  facilitated Garcia's  application  for benefits  by          providing him with the required form.               Even  more to the  point, we think  it decidedly inequitable          for Garcia to claim that Florida law is  inapplicable now that he          has  received all  the  benefits  that  law provides.    Workers'          compensation   systems  are  designed  around  a  quid  pro  quo:                                                            ____  ___  ___          employees  secure "a practical  and expeditious remedy  for their          industrial accidents," Cardillo  v. Liberty Mutual Co.,  330 U.S.                                 ________     __________________          469,   476  (1947),  while   employers  secure  "a   limited  and          determinate  liability," id.   Unlike  in  Wainwright, where  the                                   ___               __________          employer and the Florida Industrial Claims Commission both denied          the   employee's  claim   for  benefits,   Garcia  has   received          substantial compensation under the Florida scheme.  Indeed, it is          undisputed that the compensation he received exceeds the benefits          to  which he  would have  been  entitled under  Puerto Rico  law.          Garcia makes  no offer  to return the  Florida benefits.   Having          acquiesced in the applicability of Florida law when it suited his          interest,  Garcia  cannot  fairly  be  allowed  to  disclaim  its          application now.6                                        ____________________               6 Garcia's  uncontested receipt  of benefits  in Florida  is          perhaps  the  single   most  significant  distinction  from   the          Wainwright  case inasmuch as it  shows American's intent to waive          __________          any possible exclusion  from coverage under the Florida  act.  In          rejecting  the request for  benefits in Wainwright,  the Judge of                                                  __________                                         -9-               Determining that  Florida law may  be applied does  not lead          inevitably, however, to the conclusion that the present action is          barred   by  the   exclusive   remedy   provision  in   Florida's          compensation act.  The Supreme Court repeatedly  has rejected the          notion that the Full Faith  and Credit Clause of the Constitution          requires  a second jurisdiction  to defer to  limiting provisions          contained   in  the  workers'  compensation  legislation  of  the          jurisdiction  in which an injured worker first received benefits.          4 Workmen's Compensation Law   88.12, at 16-183.  See Thomas, 448            __________________________                      ___ ______          U.S. at  279-80, 284-86; Carroll  v. Lanza, 349 U.S.  408, 413-14                                   _______     _____          (1955); McCartin, 330 U.S. at 628-30.  This means that Garcia not                  ________          only  is permitted  to seek  additional benefits,  but  also that          Puerto  Rico  is  free to  disregard  Florida's  exclusive remedy          provision.                                        ____________________          Industrial Claims  made  a specific  finding  that there  was  no          waiver,  and  the   state  supreme  court  held   that  competent          substantial evidence supported that ruling.  237 So.2d at 156-57.               Moreover,  in  light of  Garcia's  acceptance  of undisputed          benefits,  we see  no reason  to dwell  on the  substantiality of          Florida's  relationship  to the  injury.    Given the  policy  of          successive awards, the only relevant concern is whether Florida's          exercise  of jurisdiction  would compromise  the  law of  another          jurisdiction  with more substantial contacts, in violation of the          Full Faith and Credit Clause  of the Constitution.  See generally                                                              ___ _________          4 Workmen's Compensation Law    86.00-87.74; Allstate Ins. Co. v.            __________________________                 _________________          Hague,  449 U.S. 302,  308-313 (1981); id.  at 322-23 (concurring          _____                                  ___          opinion  of Stevens,  J.); Dissell v.  Trans World  Airlines, 511                                     _______     _____________________          A.2d 441,  443-45 (Me.  1986).   This is, in  essence, the  issue          addressed in  Section B  infra.   For contrasting  circumstances,                                   _____          see, e.g., Johnson  v. United Airlines, 550 So.2d  134, 135 (Fla.               ____  _______     _______________          App.  1989) (court  reversed  dismissal  of  claim  for  benefits          because flight attendant's employment was "principally localized"          in  Florida), and  Dissell, 511  A.2d at  445 (over  objection of                             ________          airline,  Maine  benefits  held  applicable  based on  employee's          residence there).                                           -10-               When  a  worker's  second claim  is  for  common-law damages          rather than additional benefits, however, most states, on grounds          of  comity  and  policy, will  respect  the  other jurisdiction's          exclusive  remedy  provision immunizing  the  employer  from non-          statutory liability.  4  Workmen's Compensation  Law,      88.00,                                   ___________________________          88.10, at 16-171-183  (citing cases); see,  e.g., Kelly v.  Guyon                                                ___   ____  _____     _____          Gen. Piping, Inc., 882  F.2d 108, 110 (4th Cir. 1989); Woodner v.          _________________                                      _______          Mathers, 210  F.2d 868, 873-74  (D.C. Cir. 1954).   The rationale          _______          underlying this  uniform treatment  is compelling.   The  central          purpose  of compensation  acts is  "to substitute  a limited  but          certain  remedy for  the former  remedy in  tort --  a compromise          benefiting both employer and employee." 4  Workmen's Compensation                                                     ______________________          Law, at   88.13, at 16-187 (citing Wilson v. Faull, 27  N.J. 105,          ___                                ______    _____          141 A.2d 768 (1958)).  When an employee who has received benefits          under such a compensation scheme later tries to get back into the          common-law  damage  system,  he   is  essentially  un-doing  this          fundamental quid pro  quo.  See Restatement  (Second) of Conflict                      ____ ___  ___   ___          of Laws    183, 184 (1971).7   Courts that give effect to foreign                                        ____________________               7 Comment c of   183 states, in part:               The grant of two or  more awards to an injured employee               is  not repugnant to  the basic principle  of workmen's               compensation which is  to impose  absolute but  limited               liability upon the employer.  For a State, on the other               hand, to subject  a person who has been  held liable in               workmen's compensation  to further  unlimited liability               in tort or wrongful death would frustrate the workmen's               compensation policy of the State in which the award was               rendered.          See also   184,  comment b ("A person who accepts  an award under          ___ ____          the workmen's compensation statute of a given state may justly be          held bound by the provisions  of that statute insofar as immunity                                         -11-          exclusive remedy provisions  therefore do so to  effectuate broad          compensation  principles.  See Wilson, 141  A.2d at 778; Woodner,                                     ___ ______                    _______          210 F.2d at 874.               Whether Puerto Rico would follow this course  in the present          circumstances  is  the  ultimate question  we  must  answer.   We          therefore turn to a review of the relevant Puerto Rico law.               B. Applying Puerto Rico law                  ________________________               Garcia  claims  that  Puerto   Rico  law  requires  American          Airlines to participate in the Commonwealth's insurance fund, and          that  the  airline's failure  to  do  so  makes it  an  uninsured          employer subject  to a tort suit  under section 16  of the Puerto          Rico Workmen's Accident Compensation Act, 11 P.R. Laws Ann.   16.          His receipt  of benefits from  Florida does not foreclose  such a          suit,  Garcia   maintains,  in   light  of  "the   Commonwealth's          unequivocal policy that all employers carrying business in Puerto          Rico must contribute  to the financial feasibility  of the Fund."          He  asserts  that  allowing  employers  to  escape  liability  by          obtaining insurance elsewhere  would undermine the Commonwealth's          compensation framework.               In  emphasizing Commonwealth policy, Garcia has put his best          foot forward.  Courts that have rejected application of a foreign          state's exclusive remedy provision have done so because the forum          state's  policy  would  be disadvantaged.    See,  e.g., Reid  v.                                                       ___   ____  ____          Hansen, 440 N.W.2d  598, 601-02 (Iowa 1989)  (plaintiff's receipt          ______                                        ____________________          from tort and wrongful death liability is concerned.")                                         -12-          of  benefits in  Nebraska does  not  bar tort  action under  Iowa          statute); Davis  v. Morrison-Knudsen Co.,  289 F. Supp.  835, 838                    _____     ____________________          (D.  Ore. 1968) (Oregon's policy  of providing incentive to elect          coverage  in Oregon would  be undercut by  Idaho exclusive remedy          provision).  If  Garcia were correct that barring  his suit would          conflict  with  Commonwealth  compensation  policy, his  position          would have considerable force.               We can  find no conflict,  however.  Puerto  Rico's workers'          compensation act, like all such laws, reflects a primary interest          in ensuring  that the burden  resulting from an  employee's work-          related injury falls upon his employer rather than the individual          or his community.  See, e.g., Crider v. Zurich Ins. Co., 380 U.S.                             ___  ____  ______    _______________          39, 41  (1965); Delano v. City  of South Portland, 405  A.2d 222,                          ______    _______________________          225 (Me. 1979).  As  the district court recognized, this interest          "has been amply satisfied by the benefits Garcia received through          Florida's  workers'  accident  compensation system"  --  benefits          exceeding those available under the  Puerto Rico statute.  Puerto          Rico's  policy,  like  Florida's,  immunizes  employers  who  pay          statutory benefits from  further liability.  P.R.  Laws Ann. tit.          11,    21.  Because the two governments agree on the compensation          quid  pro  quo,  Puerto  Rico  would have  no  reason  to  reject          ____  ___  ___          Florida's exclusive remedy provision unless it had an interest in          providing  an incentive  for American  and  similar employers  to          insure their employees specifically in the Commonwealth.               Our reading of  Puerto Rico policy, however,  indicates that          the Commonwealth expressly has disclaimed an interest in covering                                         -13-          employees who  do most of their work outside  Puerto Rico.  In an          opinion  and subsequent  explanatory  letter, the  Commonwealth's          Secretary of Justice concluded that flight attendants who perform          more  than 50%  of their  work  elsewhere are  excluded from  the          coverage of the  Commonwealth's labor laws and Section  16 of the          Bill of Rights of the Puerto  Rico Constitution, which guarantees          various   employment-related  rights,   including  safe   working          conditions and a reasonable minimum  salary.  See Op. Sec. Just.,                                                        ___          No. 1977-22,  Trans. (Oct.  21, 1977); Letter  of Dec.  28, 1977,          Trans.8   In making this  determination, the Secretary  relied on          federal and Commonwealth  caselaw indicating that "job  situs" is          "fundamental and determinative" with respect to the applicability          of labor laws, Op. Sec. Just., Trans., at 6 (citing Oil, Chemical                                                              _____________          &amp; Atomic Workers Int'l Union, et al. v. Mobil Oil Corp., 426 U.S.          ____________________________________    _______________          407, 420-21 (1976) (job situs is controlling factor as to whether          state  can apply  its right-to-work  laws);  Green Giant  Co. and                                                       ____________________          Saint Paul Fire  and Marine Ins. Co. v.  Superior Court, 104 P.R.          ____________________________________     ______________          Dec. 489, 4 Off. Trans. 682, 697 (1975) (constitutional guarantee          of overtime  compensation does not  apply to Puerto  Rico migrant          workers who work outside of Puerto Rico)).                Although the Secretary's opinion does not explicitly address          the  workers' compensation  statute, we  are  persuaded that  its                                        ____________________               8 As  in this case,  the flight attendants  whose employment          triggered the  Justice Department  inquiry were  based in  Puerto          Rico and lived there.  Indeed, they were assigned to "turn around          flights" between Puerto  Rico and New York, and  thus Puerto Rico          is "the point of departure and the place toward which they return          within the framework of a  period of twenty-four hours," Op. Sec.          Just., No. 1977-22, Trans., at 2 (Oct. 21, 1977).                                         -14-          underlying rationale reaches that system.  The Secretary's intent          that his determination  be applied broadly is  strongly suggested          by the  explanatory  letter,  in which  he  concluded  that  even          employees of a Puerto Rico  airline are excluded from coverage of          the Commonwealth's  labor laws because they spend the majority of          their work time outside the jurisdictional limits of Puerto Rico.          See Letter  of Dec. 28, 1977, Trans., at 2.   We think it follows          ___          naturally  from  this  inclusive approach  that  the  opinions be          interpreted to encompass  all legislation designed to  govern the          employer-employee   relationship,  including   the  Puerto   Rico          Workmen's Accident Compensation Act.               Puerto Rico,  therefore, would  have no  reason to  penalize          American Airlines  for providing workers'  compensation insurance          for  Garcia under  the  Florida system  rather  than through  the          Puerto Rico Insurance Fund,  particularly since Florida  provided          superior benefits.   See generally Alcoa Steamship Co.  v. Velez,                               ___ _________ ___________________     _____          376  F.2d 521,  524 (1st  Cir.  1967) (intention  by Puerto  Rico          legislature that its workers' compensation  act "not be used as a          vehicle  to require the  maintenance of  duplicating compensation          insurance  by an  employer").   Accordingly,  we  agree with  the          district  court that  American Airlines  is  entitled to  summary          judgment as a matter of law because Puerto Rico would respect the          statutory immunity  granted the company under  Florida's worker's          compensation statute.               Affirmed.               _________                                         -15-

